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1    JOHN R. MANNING (SBN 220874)
     ATTORNEY AT LAW
2    1111 H Street, #204
     Sacramento, CA 95814
3    (916)444-3994
     jmanninglaw@yahoo.com
4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131-TLN
10                                           )
                          Plaintiff,         )   STIPULATION AND ORDER
11                                           )
     vs.                                     )   Date: April 11, 2019
12                                           )   Time: 9:30 a.m.
     SHANNON ARMSTRONG,                      )   Judge: Honorable Troy L. Nunley
13                                           )
                          Defendant.         )
14                                           )

15

16         Sentencing in this matter is presently set for March 28, 2019. Counsel

17   for the defendant requests the Judgment and Sentencing be continued to April

18   11, 2019 at 9:30 a.m.    Assistant United States Attorney Samuel Wong and

19   United States Probation Officer Anthony Andrews have been advised of this

20   request and have no objection.

21         The defense requests the Court adopt the following schedule

22   pertaining to the presentence report:
23            Judgment and Sentencing date:                          4/11/19
24
              Sentencing Memorandum:                                 4/4/19
25
              Reply, or Statement of Non-Opposition:                 n/a
26
              Motion for Correction of the Presentence
27            Report Shall be filed with the Court and
              served on the Probation Officer and
28            opposing counsel no later than:                        n/a
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1
               The Presentence Report shall be filed
2              with the Court And disclosed to counsel
               no later than:                                         n/a
3

4
               Counsel’s written objections to the
               Presentence Report Shall be delivered
5              to the probation officer and opposing
               Counsel no later than:                                 n/a
6
               The Presentence Report shall be filed
7              with the Court And disclosed to counsel
               no later than:                                         n/a
8

9
     Dated:   March 26, 2019                      /s/ John R. Manning
10
                                                  JOHN R. MANNING
                                                  Attorney for Defendant
11
                                                  Shannon Armstrong
12
     Dated:   March 26, 2019              McGregor W. Scott
13
                                                United States Attorney
14
                                                  by: /s/ Samuel Wong
                                                  SAMUEL WONG
15
                                                  Assistant United States Attorney
16
                                          ORDER
17
          The Court, having received, read, and considered the stipulation of the
18
     parties, and good cause appearing therefrom, adopts the stipulation of the
19
     parties in its entirety as its order.
20

21
     IT IS SO FOUND AND ORDERED this 26th day of March, 2019.
22

23

24

25

26                                            Troy L. Nunley
                                              United States District Judge
27

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